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                     UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT
               Form 1. Notice of Appeal from a Judgment or Order of a
                             United States District Court
 Name of U.S. District Court:                  Central District of California

 U.S. District Court case number: 2:18-cv-06338-PSG (GJSx)

 Date case was first filed in U.S. District Court: 07/23/2018

 Date of judgment or order you are appealing:                        08/20/2019
 Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
     Yes         No           IFP was granted by U.S. District Court

  List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
   RAFAEL ARROYO, JR




 Is this a cross-appeal?           Yes           No
 If Yes, what is the first appeal case number?

 Was there a previous appeal in this case?                       Yes           No
 If Yes, what is the prior appeal case number?

 Your mailing address:
  9845 Erma Road, Ste 300



 City: San Diego                                State: CA               Zip Code: 92131

 Prisoner Inmate or A Number (if applicable):

 Signature        /s/ Russell Handy                                       Date Aug 20, 2019
       Complete and file with the attached representation statement in the U.S. District Court
                      Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 1                                                                                           Rev. 12/01/2018
